Case 1:17-cv-02989-AT Document 1298-2 Filed 02/01/22 Page 1 of 3

EXHIBIT I

Official Election Bulletin dated December 1, 2020
Case 1:17-cv-02989-AT Document 1298-2 Filed 02/01/22 Page 2 of 3

 

OFFICIAL ELECTION BULLETIN
December 1, 2020

 

TO: County Election Officials and County Registrars
FROM: Chris Harvey, Elections Division Director
RE: Preserving Ballot Images and Delivering to Sec. of State

 

When preparing your materials for the “Ballot Run” for the November 3, 2020 Election and Recount,
you must complete the following steps to include all ballot images with your election returns.

Please include in your election certification packet the following:

A backup copy of your Official and Complete November 3" General Election Project

A backup copy of your November 3” Recount Election Project containing all the ballot images
collected during the recount process (see “Loading images instructions” below on how to ensure
ballot images have been loaded)

Creating and saving a backup copy of Election Project

To make a backup copy of an Election Project the following steps need to be followed:

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Open the project in EED

Click on File in the toolbar and select Create Backup

Select the second option listed; this is the full backup option
Click OK when complete

Close the election project in EED

Click on the File Explorer icon at the bottom of the screen
Click on Local Disk (€:)

Double click on the NAS folder

Double click on the “countyname” Nov 2020 General folder

. Double click on Project Package
. Two files should be present

a. Zipped file
b. EMS.sha file
Highlight and copy the two files listed
Paste and save the two files to a USB drive, or a compact flash card

Page 1 of 2
Case 1:17-cv-02989-AT Document 1298-2 Filed 02/01/22 Page 3 of 3

Loading Ballot Images collected by the ICC during the recount

A. Open the Recount Election Project in RTR
B. Click on Actions, select “Load Results from Directory”
C. Next to File Type select Results; verify the files listed have a “checkmark” in the Loaded column
D. Next to File Type select Images
E. Highlight the rows listed and then hit “Load”
e If the images have already been loaded, a message asking if you would like to Overwrite the
previously loaded images will appear, Select NO
e If the images have NOT been loaded, the images will then be uploaded
F. Click Close
G. Close the Election Project in RTR
H. Open EED
|. Open the Recount Election Project
J. Create backup copy of your Recount Election Project following the instructions listed above for

Creating and saving backup copy

If you have questions about this process, check with Michael Barnes’ team at CES or your election
liaison.

Page 2 of 2
